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                                        September 25, 2024


  BY ECF
  Hon. LaShann DeArcy Hall
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

         Re:     Trooper 1 v. NYSP et al., No. 22-cv-893

  Dear Judge DeArcy Hall:

           We filed a document that inadvertently includes a reference which Plaintiff suggests
  violates one of your orders. Without agreeing with the substance of Plaintiff’s objection, we
  have agreed to remove the reference. Accordingly, we respectfully request that the
  memorandum of law filed at ECF No. 275-1 be sealed immediately and request permission to
  file a revised memorandum of law removing the citation at issue. I respectfully request
  permission to identify the citation directly with chambers in a non-public manner. I am sorry for
  the inconvenience to the court.


                                                              Respectfully submitted,

                                                              /s/ Catherine M. Foti
                                                              Catherine M. Foti
